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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )                  8:14CB02
                      Plaintiff,                )
                                                )
       vs.                                      )                   ORDER
                                                )
ETHAN M. CLARK,                                 )
                                                )
                      Defendant.                )


       This matter is before the court on the motion for an extension of time by defendant Ethan
Clark (Clark) (Filing No. 17). Clark seeks an additional thirty days in which to file pretrial
motions. Clark has filed an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act (Filing No. 18). Clark's counsel represents that government's counsel has no objection to
the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Clark's motion for an extension of time (Filing No. 17) is granted. Clark is
given until on or before April 14, 2014, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between March 13, 2014, and April 14, 2014,

shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 13th day of March, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
